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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

BAPA BROOKLYN 2004, LLC,                 '
                                         '
             Plaintiff,                  '
                                         '
V.                                       '         No. 3:20-cv-254-X-BN
                                         '
GUILD MORTGAGE COMPANY,                  '
                                         '
             Defendant.                  '

     ORDER DENYING MOTION FOR ENTRY OF FINAL JUDGMENT

      The Court DENIES Defendant Guild Mortgage Company’s Motion for Entry

of Final Judgment [Dkt. No. 24] and GRANTS Plaintiff BAPA Brooklyn 2204, LLC

leave to file its Amended Complaint out of time.

      SO ORDERED.

      DATED: February 2, 2021.



                                         _____________________________________
                                         BRANTLEY STARR
                                         UNITED STATES DISTRICT JUDGE
